       Case 3:20-cv-00832-E Document 5 Filed 04/10/20                     Page 1 of 5 PageID 221

                                   UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS




Oscar Sanchez, et al.                                  §
                 Plaintiff                             §
                                                       §
                                                       §
                                                                          3:20-cv-00832
                     v.                                §     Case No.
                                                       §
                                                       §
Dallas County Sheriff Marian Brown, et al.             §
                Defendant                              §


                          APPLICATION FOR ADMISSION PRO HAC VICE
                           (Complete all questions; indicate “N/A” if necessary.)

I.       Applicant is an attorney and a member of the law firm of (or practices under the name of)

American Civil Liberties Union Foundation, Inc.                                              , with offices at

125 Broad Street, 18th Floor,
(Street Address)

New York                                                     New York               10004
(City)                                                      (State)                 (Zip Code)

 (212) 549-2528                                              N/A
(Telephone No.)                                              (Fax No.)




II.      Applicant will sign all filings with the name Andrea Wooods                                         .


III.     Applicant has been retained personally or as a member of the above-named firm by:
                                         (List All Parties Represented)

Oscar Sanchez, Marcus White, Tesmond McDonald, Marcelo Perez, Roger Morrison, Keith Baker, Paul
Wright, Terry McNickels, and Jose Munoz; on their own and on behalf of a class of similarly situated
persons.


to provide legal representation in connection with the above-styled matter now pending before the United
States District Court for the Northern District of Texas.
       Case 3:20-cv-00832-E Document 5 Filed 04/10/20                    Page 2 of 5 PageID 222


IV.      Applicant is a member in good standing of the bar of the highest court of the state of
                                                                                                      For Court Use Only.
                                                                                                      Bar StatusVerified:
                    Washington                        , where Applicant regularly practices law.      _______________


                    48265
Bar license number:_______________                          10/29/2014
                                            Admission date:____________________________

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).


V.       Applicant has also been admitted to practice before the following courts:

Court:                                    Admission Date:                            Active or Inactive:

Western District of Washington            6/26/2017                                  Active

New York State Bar                        4/1/2018                                   Active

Eleventh Circuit Court of Appeals         10/22/2018                                 Active

5th Circuit Court of Appeals              11/1/2018                                  Active


VI.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:

N/A




VII.     Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires
admission to practice, except as provided below:

N/A




VIII.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except
as provided below (omit minor traffic offenses):

N/A
       Case 3:20-cv-00832-E Document 5 Filed 04/10/20                            Page 3 of 5 PageID 223


IX.       Applicant has filed for pro hac vice admission in the United States District Court for the
Northern District of Texas during the past three (3) years in the following matters:

Date of Application:               Case No. And Style:

6/14/18                             3:18-cv-00154-N




                             (If necessary, attach statement of additional applications.)


X.        Local counsel of record associated with Applicant in this matter is

Barry Barnett                                                                                    , who has offices at

SUSMAN GODFREY L.L.P., 8115 Preston Road, Suite 575
(Street Address)

Dallas                                                          Texas                       75225
(City)                                                         (State)                      (Zip Code)


 (866) 754-1900                                                 (713) 654-6666
(Telephone No.)                                                (Facsimile No.)



XI.       Check the appropriate box below.
          For Application in a Civil Case

          ✔        Applicant has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n, 121
                   F.R.D.284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
                   comply with the standards of practice adopted in Dondi and with the local civil rules.
          For Application in a Criminal Case
                   Applicant has read and will comply with the local criminal rules of this court.


XII.      Applicant respectfully requests to be admitted to practice in the United States District Court for
the Northern District of Texas for this cause only. Applicant certifies that a true and correct copy of this
document has been served upon each attorney of record and the original upon the clerk of court,
accompanied by a $100 filing fee, on this the        9th     day of April                                , 2020     .



                                                               Andrea Woods
                                                               Printed Name of Applicant


                                                               Signature
                                                 Case 3:20-cv-00832-E Document 5 Filed 04/10/20              Page 4 of 5 PageID 224
ertificate of Good Standing for




                                                 United States District Court
                                                          Western District of Washington




                                                             CERTIFICATE OF GOOD STANDING

                                  I, William M. McCool, Clerk of the United States District Court for the Western District of Washington, do hereby certify that

ANDREA R. WOODS was admitted to practice in said Court on June 26, 2017 to the Western District of Washington, and is in good

standing as a member of the bar of said Court.



                                                                       Dated at Seattle, Washington on April 8, 2020.

                                                                                                    William M. McCool
                                                                                                    Clerk

                                                                                                    By _________________________
                                                                                                       Deputy Clerk
   Case 3:20-cv-00832-E Document 5 Filed 04/10/20                    Page 5 of 5 PageID 225



                               UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS




 Oscar Sanchez, et al.                            §
                Plaintiff                         §
                                                  §
                                                  §
                                                                     3:20-cv-00832
                   v.                             §    Case No.
                                                  §
                                                  §
Dallas County Sheriff Marian Brown, et al.        §
               Defendant                          §


                            ORDER FOR ADMISSION PRO HAC VICE

       The Court has considered the Application for Admission Pro Hac Vice of

Andrea Woods                                                                              .

It is ORDERED that:


              the application is granted. The Clerk of Court shall deposit the admission fee to the
              account of the Non-Appropriated Fund of this Court. It is further ORDERED that, if the
              Applicant has not already done so, the Applicant must register as an ECF User within 14
              days. See LR 5.1(f) and LCrR 49.2(g).


              the application is denied. The Clerk of Court shall return the admission fee to the
              Applicant.




DATE                                           PRESIDING JUDGE
